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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                      Case No.: 10−44845−NLW
                                      Chapter: 11
                                      Judge: Novalyn L. Winfield

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Walsh Securities, Inc.
   46 Laura Lane
   Morristown, NJ 07960
Social Security No.:

Employer's Tax I.D. No.:
  22−3256427

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that is discharged as trustee of the estate of the above named debtor(s) and the bond is canceled;
and the case of the above named debtor(s) is closed.


Dated: August 30, 2013                          Novalyn L. Winfield
                                                Judge, United States Bankruptcy Court
